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           Exhibit A
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      quinn emanuel trial lawyers | new york
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July 15, 2024


VIA EMAIL
Dina McLeod
Micah F. Fergenson
Rushmi Bhaskaran
Nicholas W. Chiuchiolo
Assistant United States Attorneys
United States Attorney’s Office
Southern District of New York
One Saint Andrews Plaza
New York, New York 10007

Re:     United States v. Charlie Javice, et al., 23-cr-00251-AKH (S.D.N.Y.).

Dear Counsel:

        Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C), we provide notice that Ms.
Javice anticipates calling Dr. Konstantinos Psounis as an expert witness at trial.

        Below are Dr. Psounis’ qualifications and a summary of his anticipated testimony. We
reserve the right to update, amend, and/or supplement this disclosure as the case proceeds. A copy
of Dr. Psounis’ curriculum vitae, which includes a complete list of his publications in the past ten
years, along with a list of cases in which Dr. Psounis testified as an expert during the past four
years is attached as Exhibit A.

I.      BACKGROUND & QUALIFICATIONS

        Dr. Psounis is a professor in the Electrical and Computer Engineering and Computer
Science Departments at the University of Southern California. He has been a professor at the
University of Southern California since 2003 and has served as the Associate Chair of the
Electrical and Computer Engineering Department since July 2021.




      quinn emanuel urquhart & sullivan, llp
      ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON |
      LONDON | LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY |
      SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY | SINGAPORE | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | WILMINGTON |
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       Dr. Psounis holds Ph.D. and M.S. degrees in electrical engineering from Stanford
University, and an undergraduate degree in electrical and computer engineering from the National
Technical University of Athens where he graduated first in his class.

        Dr. Psounis’ field of expertise includes computer science and engineering, data modeling,
machine learning methods, algorithm design, online data centers and cloud systems, and the design
and implementation of artificial intelligence-enabled systems. He has published over 120 research
papers on these and other topics throughout his career which have received more than 14,000
citations. Dr. Psounis has been the recipient of various awards, including the Association for
Computing Machinery Distinguished Member program, recognizing those with at least 15 years
of professional experience who have achieved significant accomplishments or have made a
significant impact on the computing field. He also has been designated a Fellow of the Institute
of Electrical and Electronics Engineers for fundamental contributions in the field of computer
networks, which is the highest grade of membership reserved at most to one-tenth of one-percent
of the total voting membership and is conferred by the Board of Directors upon a person with an
outstanding record of accomplishments. At the University of Southern California, Dr. Psounis has
taught courses on advanced topics in computer networks and on probabilistic modelling for
computer and electrical engineers, among others.

II.    SUMMARY OF ANTICIPATED TESTIMONY

       Based on his academic and professional experience, Dr. Psounis expects to offer the
following opinions at any trial in this matter:

       First, numerous web-based businesses rely on internet users to increase brand exposure
and drive traffic to their sites. The meaning of the term “user,” however, is variable and context-
dependent, and has no single definition. The same is true for terms like “customer,” “account,”
and “subscriber.” Although all these terms broadly indicate some level of engagement with a
business or brand, their meaning may be highly specific and vary even within a single company
based on the products or services at issue. Understanding how an organization defines, for
example, its “users” is thus important to any analyses based on “user”-based metrics.

        Second, these metrics, however defined, may offer valuable information regarding
consumer engagement. As a result, many companies supplement their existing data by using one
or more data augmentation, synthesis, or appending programs to generate further insights into their
businesses. Synthetic data analyses model the statistical properties of a company’s underlying
data to, for example, generate further insights into user behavior and demographic trends and
mitigate privacy and data bias concerns. Appending data involves updating or adding missing data
elements to an existing database to provide a more comprehensive and accurate understanding of
consumer characteristics. These processes are widely used and offer organizations a deeper view
into their consumer data.




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              A.      OPINION ONE: CONTEXT DEFINES TERMINOLOGY RELATED TO
                      CONSUMER ENGAGEMENT

       Businesses often use a variety of metrics to track consumer engagement, including data
regarding users, accounts, subscribers, and customers. But the meaning of those terms is context-
dependent. Definitions may vary at a macro level within industries down to the micro level within
companies, business segments, products, and services.

       The term “user,” for example, can be divided into multiple subcategories, the applicability
and definition of which are again driven by context and include:

                  Visitors: Visitors may be classified as users who visit a website, but otherwise do
                   not provide information directly to the site.

                  Unique Visitors: Unique visitors may be classified as users who visit a website,
                   but otherwise do not provide information directly to the site, that are counted only
                   once in a given time period.

                  Active Users: Active users may be classified as users who visit a website or utilize
                   a particular product or service a set number of times during a particular time period.

                  Registered Users: Registered users may be classified as visitors who have
                   completed a registration process through a website or third-party interface.

                  Paying Users: Paying users may be classified as visitors or registered users who
                   have paid to receive a business’s products, services, or information.

        The lack of any single definition of terms like “user” has fostered debate regarding their
      1
utility and what such terms—and extensions of them, e.g., “user engagement”—mean and in what
scenarios.2 To promote greater clarity regarding engagement-related terms, companies sometimes

1
    See, e.g., Taylor Majewski, It’s time to retire the term “user”, MIT Technology Review
https://www.technologyreview.com/2024/04/19/1090872/ai-users-people-terms/ (April 19, 2024)
(“But ‘users’ is also unspecific enough to refer to just about everyone. It can accommodate almost
any big idea or long-term vision.”).
2
   See, e.g., Ruowei Xiao, et al., Internet-of-Gamification: A Review of Literature on IoT-enabled
Gamification for User Engagement, International Journal of Human–Computer Interaction,
38(12), at 1116 (2022) (“Despite its wide usage, the term ‘user engagement’ lacks a consensus
definition. There are various definitions proposed in different domains.”); Mounia Lalmas, et al.,
Synthesis Lectures on Information Concepts, Retrieval, and Services, Measuring User
Engagement, at xiii (2015) (“The term ‘user engagement’ is frequently referred to as a desired
outcome of people’s interactions with information technology, but this means different things to
different people; many people use the term without articulating their definition. This creates



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define them, whether in their terms and conditions, license agreements, or elsewhere. These
definitions still vary widely from company to company and depending on the service or product
involved.

        For example, some companies expressly acknowledge a distinction between “visitor” users
and “registered” users, even though the company may ultimately treat them the same. Barefoot
Wine’s website terms of use apply “whether you are a ‘Visitor’ (which means that you simply
browse the Site) or you are a ‘Member’ (which means you have registered with us for the Site, if
registration is available on the Site),” and “[t]he term ‘User’ means a ‘Visitor’ or a ‘Member.’”3
The website terms of use for the City of Newburyport, Massachusetts, state that “[a] ‘Visitor’ is
an individual that is using or accessing the Site, but has not created a user account, and a ‘User’ is
an individual that has created a user account through the Site.”4 The Wix terms of use are more
ambiguous and “set forth the entire terms and conditions applicable to each visitor or user” of the
Wix website and mobile application but collectively define those terms as “(‘User’ or ‘you’).”5
Google Analytics’ terms of service similarly state that “‘Users’ means users and/or visitors to Your
Properties,” i.e., “any web page, application, other property or resource under Your control that
sends data to Google Analytics.”6

        Licensing agreements many times go further in defining not only the term “user” but
different types of “users” tailored to specific service offerings and levels of access or engagement
with a product or service. For example, Adobe’s licensing agreement applies to “End Users” (not
defined), and contains different provisions and definitions governing “Network Users,” “Server
Software Users,” “Primary Users,” “U.S. Government End Users,” and “Educational End Users.”7
Oracle’s license agreement applies to “Application Users,” “Enterprise Asset Management Users,”
“Field Sales Users,” “Financials Users,” “Inventory/Shipping Users,” “Marketing Users,”
“Manufacturing Users,” “Purchasing Users,” “TeleSales Users,” “Application Read-Only Users,”




further dilemmas when we turn to measurement: if we cannot define user engagement, then how
do we know whether we have actually measured it?”); H.L. O’Brien & E.G. Toms, What is user
engagement? A conceptual framework for defining user engagement with technology, Journal of
the American Society for Information Science & Technology, at 1–2 (2008) (“Despite the need to
engage users and create engaging technologies, there is no agreed upon definition of the
construct.”).
3
    Barefoot Wine, Use Agreement, https://www.barefootwine.ca/use-agreement.
4
    Newburyport, Terms of Use, https://newburyport.com/terms-use/.
5
    Wix, Terms of Use, https://www.wix.com/about/terms-of-use.
6
      Google     Marketing     Platform,    Google       Analytics         Terms      of     Service,
https://marketingplatform.google.com/about/analytics/terms/us/.
7
       Adobe, End User License Agreement, https://www.adobe.com/products/eula/tools/
captivate.html.


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“Collaboration Program Users,” “Employee Users,” “Hosted Named Users,” “Non Employee
Users – External,” “Professional Users,” and more.8

        Any analysis of an organization’s “users” must therefore begin with a comprehensive
understanding of what “user” metric is at issue and how, specifically, it is defined. However, what
a company considers its “users” often is left undefined, such as in the case of a new or developing
company that has not created consistent processes or metrics to measure engagement. In general,
establishing clear, agreed-on criteria to define, identify, and track an organization’s users is
important to any user-focused analysis.

           B.      OPINION TWO: SYNTHETIC, AUGMENTATION, AND APPENDING
                   DATA SERVICES ARE COMMON METHODS TO MAXIMIZE THE
                   VALUE OF AN ORGANIZATION’S DATA

        User, customer, subscriber, and similar data may offer valuable information into an
organization’s consumer engagement. To derive further insights from that data, many companies
utilize one or more data augmentation, synthesis, or appending programs. Although these
programs vary, each relies on the company’s underlying data set to, for example, generate insights
into user behavior and demographic trends and mitigate privacy and data bias concerns, while
preserving the existing data’s statistical properties. Such programs are commonly used and serve
valuable functions across industries.

       Synthetic Data: Synthetic data is a process by which a seed data set is used to create
additional data that maintains the statistical characteristics of the seed set and may augment it in
useful ways. Synthetic data is generally derived from machine learning or mathematical or
generative modelling that populates real-world patterns from an organization’s existing dataset.9
Synthetic data is widely used in both private and public sectors, including by the U.S.
government.10

        Synthetic data offers multiple benefits, particularly given advancements in artificial
intelligence and machine learning that allow organizations to create synthetic data models that

8
      Oracle, Oracle License And Services Agreement, https://www.oracle.com/us/corporate/
pricing/olsa-ire-v122304-070683.pdf.
9
  See, e.g., IBM, What is synthetic data? (2023), https://research.ibm.com/blog/what-is-synthetic-
data; Indu Joshi, et al., Synthetic Data in Human Analysis: A Survey, IEEE Transactions on Pattern
Analysis and Machine Intelligence, at 2–4 (2022).
10
               US.      Census      Bureau,      What     Are      Synthetic   Data?      (2021),
https://www.census.gov/about/what/synthetic-data.html; Syntegra, Syntegra Partnering with
National Institutes of Health (NIH) and the Bill and Melinda Gates Foundation to Democratize
Access to the Largest Set of COVID-19 Patient Records, https://www.syntegra.io/news/syntegra-
partnering-with-national-institutes-of-health-nih-and-the-bill-and-melinda-gates-foundation-to-
democratize-access-to-the-largest-set-of-covid-19-patient-records.


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replicate the underlying data’s properties with a high degree of accuracy.11 First, for example,
privacy requirements may impose limitations on available data including how that data may be
used.12 Synthetic data allows for the creation of datasets that mirror the underlying data’s
characteristics in a manner that reduces the amount of personal information disclosed in the
process.13 Second, synthetic data may mitigate bias. An existing consumer dataset, as an example,
may be skewed towards certain demographics, with any models based on that limited data
accordingly presenting the same biases. Synthetic data can identify and account for these
discrepancies to create a more balanced and representative dataset.14 Third, beyond mitigating
privacy and bias concerns, synthetic data has other commercially useful benefits including
augmenting an existing dataset with underrepresented data using oversampling, which allows for
more fine-grained data analysis.15

       Data Appending: Data appending is the process of updating or adding missing data
elements—such as demographic, employment, phone, or email data—to an existing database.
Appended data may be obtained from publicly-available resources or purchased in the open market
from companies that specialize in the collection of personal data. Data appending commonly
involves a standardization process that appends missing data, corrects errors in existing data, and
removes redundant or outdated data. The appending process can accordingly help improve the
accuracy and quality of an organization’s data and enhance visibility into a company’s consumers
through additional information.

11
    See, e.g., Brian Eastwood, MIT Sloan School of Management, What is synthetic data — and
how can it help you competitively?, https://mitsloan.mit.edu/ideas-made-to-matter/what-synthetic-
data-and-how-can-it-help-you-competitively (study from MIT “demonstrated that there was ‘no
significant difference’ between predictive models generated on synthetic data and real data”).
12
        National Science Foundation, Human Subjects, https://www.nsf.gov/bfa/dias/policy/
human.jsp; National Institutes of Health, Protecting Sensitive Data and Information Used in
Research,         https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.3.12_protecting_
sensitive_data_and_information_used_in_research.htm (updated April 2024).
13
    See, e.g., US. Census Bureau, supra note 10 (“The Census Bureau is researching a new fully
synthetic data product to explore whether this method would allow us to produce more accurate
data—correcting for known sources of error and potentially allowing for more tabulations at lower
levels of geography—for our users while maintaining our respondents’ privacy.”)
14
    See, e.g., IBM, supra note 9; Joshi, et al., supra note 9, at 13; N. Jaipuria, et al., Deflating
Dataset      Bias    Using    Synthetic    Data      Augmentation,     at    8     (Apr.     2020),
https://arxiv.org/pdf/2004.13866.
15
     See, e.g., William G. Cochran, Sampling Techniques, 3rd Edition; Ling, Charles X., and
Chenghui Li., Data mining for direct marketing: Problems and solutions, Kdd. Vol. 98. 1998;
Sharon Y. Li, Automating Data Augmentation: Practice, Theory and New Direction, The Stanford
AI Lab Blog, http://ai.stanford.edu/blog/data-augmentation/; US. Census Bureau, supra note 10
(discussing research regarding “a new fully synthetic data product” that could “potentially allow[]
for more tabulations at lower levels of geography”).


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                                *              *              *

       We reserve the right to supplement and/or amend this disclosure, including in response to
the government’s disclosures and the evidence presented in its case-in-chief.



Sincerely,

/s/ Samuel P. Nitze
Samuel P. Nitze



                                                   Reviewed and Approved by:


                                                   /s/ Dr. Konstantinos Psounis
                                                   Dr. Konstantinos Psounis




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                                                                            Professor

                                                                            https://sites.usc.edu/kpsounis/
                                Curriculum Vitae

Education     STANFORD UNIVERSITY                                                     Stanford, CA
              Department of Electrical Engineering                           Jan. 1999 - Dec. 2002
              Ph.D. degree in Electrical Engineering. Thesis title: “Probabilistic Methods for Web
              Caching and Performance Prediction of IP Networks and Web Farms”.

              STANFORD UNIVERSITY                                                  Stanford, CA
              Department of Electrical Engineering                         Sep. 1997 - Jan. 1999
              M.S. degree in Electrical Engineering. GPA: 4.0/4.0. (Actual GPA 4.05/4.0.)

              NATIONAL TECHNICAL UNIVERSITY of ATHENS                      Athens, Greece
              Electrical and Computer Engineering Department        Sep. 1992 - June 1997
              Diploma in Electrical and Computer Engineering. GPA: 9.74/10.0. (Graduated
              ranking 1st in the class of ’97.)

Work          UNIVERSITY OF SOUTHERN CALIFORNIA                                         Los Angeles, CA
in Academia   Electrical and Computer Engineering (ECE) and Computer Science (CS) departments
              Professor                                                                 Nov. 2017 - now
              Associate Chair of ECE department                                          July 2021 - now
              Associate Chair of ECE department                                    Jan. 2019 - Aug 2019
              Associate Professor                                                 May. 2009 - Nov. 2017
              Assistant Professor                                                  Sep. 2003 - Apr. 2009
              Research interests: Modeling, performance analysis, algorithm design, machine learning
              methods, and system design and implementation for efficient, AI-enabled and privacy-
              preserving networked, distributed systems, including the Internet and the web, data centers
              and cloud systems, wireless systems (e.g. WiFi, cellular, IoT, spectrum sharing, delay tol-
              erant, mobile ad hoc), augmented and virtual reality systems, autonomous robotic vehicle
              and drone systems, and peer to peer systems.

              STANFORD UNIVERSITY                                                          Stanford, CA
              Visiting Associate Professor                                         Aug. 2009 - Dec. 2009
              Electrical Engineering department.

              STANFORD UNIVERSITY                                                          Stanford, CA
              Postdoctoral Research Fellow                                         Jan. 2003 - Aug. 2003
              Scheduling of Internet flows and multi-server systems.

Technical Work
outside academia

              ADANT Technologies
              Technical Consultant                                                  Jan. 2017 - May 2018
              WiFi 802.11ax and smart antennas.

              QUANTENNA COMMUNICATIONS
              Technical Consultant                                               Jan. 2015 - 2016
              Advanced MAC and PHY layer techniques applied to next generation wireless networks.

              HONEYWELL
              Technical Consultant                                                  Sep. 2013 - Jun. 2014
              Sensor-network based fire alarm systems.
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             SpaceMUX, Inc.
             Co-founder and CEO                                                 May 2013 - Dec. 2014
             Increasing wireless bandwidth and speed tenfold.

             CISCO SYSTEMS                                                              San Jose, CA
             Technical Consultant                                               Sep. 2009 - Dec. 2009
             Vehicular multi-technology wireless connectivity.

             FINEGROUND NETWORKS Inc.                                                   Cambell, CA
             Technology Architect                                               Sep. 2000 - June 2001
             Accelerating web downloads using delta encoding.

Expert Witness
Ongoing Work

             Google RTB Consumer Privacy Litigation
             Case No. 4:21-cv-02155-YGR-VKD (N.D. Cal.)                                July 2023 - now
             Representing defendant Google.
             Reports:
             Initial expert report                                                       Sep. 29, 2023
             Court Appearances:
             Deposition re initial expert report                                         Oct. 16, 2023


Expert Witness
Completed Work

             Brown v. Google LLC
             Case No. 4:20-cv-03664-YGR-SVK (N.D. Cal.)                         Apr. 2022 - Jan. 2024
             Representing defendant Google, judge only certified an injunctive class, case settled.
             Reports:
             First rebuttal expert report                                                  June 7, 2022
             Second rebuttal expert report                                               Aug. 30, 2023
             Declarations:
             First declaration                                                           Nov. 30, 2022
             Second declaration                                                           Feb. 10, 2023
             Court Appearances:
             Deposition re first rebuttal expert report                                  Aug. 19, 2022
             Deposition re second rebuttal expert report                                   Oct. 9, 2023


             Atlas Global Technologies vs ASUSTeK computer inc.
             Case No. 6:21-cv-00820-ADA (E.D. Texas)                Sep. 2022 - Dec. 2023
             Representing plaintiff Atlas, case settled.
             Reports:
             Rebuttal expert report re validity of multiple patents         July 14, 2023
             Court Appearances:
             Deposition re validity of multiple patents                     Aug. 1, 2023


             Atlas Global Technologies v. ONEPLUS Technology (Shenzhen) Co., LTD
             Case No. 6:21-CV-01217-ADA (W. D. Texas)          Mar. 2023 - Dec. 2023
             Representing plaintiff Atlas, case settled.
             Declarations:
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        Declaration re claim construction for multiple patents                      Nov. 18, 2022


        Zyxel Comm and Networks Corporation v. Atlas Global Technologies
        Case No IPR2023-00877                                           Mar. 2023 - Oct. 2023
        Representing patent owner Atlas. PTAB denied institution of IPR. Case settled.
        Declarations:
        Declaration re validity of a patent                                     Aug. 11, 2023


        Zyxel Comm and Networks Corporation v. Atlas Global Technologies
        Case No IPR2023-00863                                           Mar. 2023 - Oct. 2023
        Representing patent owner Atlas. PTAB denied institution of IPR. Case settled.
        Declarations:
        Declaration re validity of a patent                                     Aug. 11, 2023


        Atlas Global Technologies v. Sercom Corp.
        Case No. 6:21-cv-00818-ADA (E.D. Texas)                            Oct. 2022 - Oct. 2023
        Representing plaintiff Atlas, case settled.
        Reports:
        Rebuttal expert report re validity of multiple patents                      July 14, 2023
        Court Appearances:
        Deposition re validity of multiple patents                                   Aug. 1, 2023


        Sercomm Corp. v. Atlas Global Technologies
        Case No. IPR2022-01519                                           Sep. 2022 - Apr. 2023
        Representing patent owner Atlas, PTAB denied institution of IPR.
        Declarations:
        Declaration re validity of a patent                                      Jan. 19, 2023


        Sercomm Corp. v. Atlas Global Technologies
        Case No. IPR2022-01520                                           Sep. 2022 - Apr. 2023
        Representing patent owner Atlas, PTAB denied institution of IPR.
        Declarations:
        Declaration re validity of a patent                                      Jan. 19, 2023


        Atlas Global Technologies vs TP-Link Tech., Co, et al.
        Case No. 2:21-cv-00430-JRG (E.D. Texas)                              Sep. 2022 - Sep. 2023
        Representing plaintiff Atlas. Atlas was granted the full requested damages amount.
        Reports:
        Rebuttal expert report re validity of multiple patents                       May 23, 2023
        Court Appearances:
        Deposition on opinions rendered re validity of multiple patents               June 5, 2023


        Broadcom v. Netflix
        Case No. 3:20-cv-04677-JD (N.D. Cal.)                              Jan. 2021 - Apr. 2022
        Representing defendant Netflix. Judge ordered the case to stay.
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              CA and AVAGO v. Netflix
              Case No. 2:21-CV-00080-JRG-RSP (E.D. Texas)                          Jan. 2021 - Apr. 2022
              Representing defendant Netflix. Judge ordered the case to stay.
              Reports:
              Opening expert report re invalidity of patents                                Dec. 20, 2021
              Supplemental opening expert report re invalidity of patents                   Dec. 27, 2021
              Rebuttal expert report re infringement of patents                             Jan. 11, 2022
              Declarations:
              Declaration re claim construction for patents                                 Aug. 30, 2021
              Court Appearances:
              Deposition re invalidity and non-infringement of patents                       Jan. 19, 2022


Teaching      • Co-creator and instructor for the USC graduate class EE597: “Wireless Networks”.
Experience      Content: Introduction to current and next generation wireless networking technologies,
                detailed exploration of fundamental architectural and design principles used at all layers.
              • Instructor for the USC graduate class EE503: “Probability for Electrical and Computer
                Engineering”. Content: Probability, discrete and continuous time Markov chains, basic
                queueing theory.
              • Instructor for the USC undergrad class EE465: “Probabilistic Methods in Computer
                Systems Modelling”. Content: Probability, Markov chains, simulations.
              • Creator and instructor for the USC graduate class EE650: “Advance Topics in Computer
                Networks: Mathematical tools for analyzing wired and wireless networks”. Content:
                Applications to networking problems of probability, queueing, Lyapunov functions, fluid
                limits, bipartite matchings, stable marriages, random walks on graphs, deterministic and
                stochastic optimization, statistical analysis, information theory, game theory.

PhD Student   • Dimitris Andreadis (starting Aug. 2024)
Supervision   • Ryan Swift (starting Aug. 2024)
              • Pouya Esmaili (starting Aug. 2024)
              • Jike Zhong (starting Aug. 2024)
              • Stavros Damianakis (starting Aug. 2024)
              • Rohan Sequeira (Aug. 2023 - now)
              • Te Yi Kan (Jan. 2023 - now)
              • Tina Esmaeilzadeh (Aug. 2022 - now)
              • Namo Asavisanu (Aug. 2021 - now)
              • Jiang Zhang (Aug. 2019 - May 2024, currently at Facebook )
              • Lillian Clark (co-advised with Prof. Bhaskar Krisnamachari, Sep. 2018 - March 2023,
                currently at SpaceX )
              • Hang Qiu (co-advised with Prof. Ramesh Govindan, Jan. 2015 - June 2021, currently
                Assistant Professor at the University of California, Riverside)
              • Po-Han Huang (Sep. 2015 - Jan. 2020, currently at Facebook )
              • Kaidong Wang (Sep. 2014 - Dec. 2019, currently at Qualcomm)
              • Yonglong Zhang (Sep. 2013 - Dec. 2018, currently at Facebook )
              • Matthew Clark (Sep. 2013 - Dec. 2017, currently at Aerospace Corporation)
              • Weng Chon Ao (Sep. 2012 - Dec. 2017, currently at Qualcomm)
              • Antonios Michaloliakos (Aug. 2010 - Sep. 2016, currently at Enfabrica, California)
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            • Ranjan Pal (co-advised with Prof. Leana Golubchik, Jan. 2009 - Aug. 2014, currently
              Research Scientist at MIT )
            • Vlad Horia Balan (Sep. 2007 - Aug. 2013, currently at Google)
            • Wei-Cherng Liao (Sep. 2004 - Dec. 2008, currently at MediaTek, Taiwan)
            • Apoorva Jindal (Sep. 2003 - Dec. 2008, currently at Uber )
            • Fragkiskos Papadopoulos (Sep. 2003 - Dec. 2007, currently Associate Professor at
              Cyprus University of Technology, Cyprus)
            • Thrasyvoulos Spyropoulos (Sep. 2003 - Jun. 2006, currently Professor at Technical
              University of Crete, Greece)

Proposals   Amazon Grant                                                                     Sep. 2023
Funded      Proposal title: Private labelling and learning for voice assistants with cameras

            Amazon Grant                                                                 Sep. 2022
            Proposal title: Federated learning with secure aggregation: Accessing and improving its
            privacy

            CA-Santa Monica Mountains Conservancy Grant                                   Dec. 2021
            Proposal title: Wildfire Detection and Fighting Using a Network of Collaborative Drones

            NSF SaTC Grant                                                  Oct. 2020 - Sep. 2025
            National Science foundation (NSF) award under the Secure and Trustworthy Computing
            (SaTC) call.
            Proposal title: SaTC: Frontiers: Collaborative: Protecting Personal Data Flow on the
            Internet.

            NSF CNS Grant                                                 Oct. 2020 - Sep. 2023
            National Science foundation (NSF) award under the Computer and Networked Systems
            (CNS) call.
            Proposal title: CNS Core: Medium: Network-Enabled Cooperative Perception for Future
            Autonomous Vehicles.

            NSF NeTS Grant                                                 Sep. 2019 - Aug. 2022
            National Science foundation (NSF) award under the Networking Technology and Systems
            (NeTS) call.
            Proposal Title: CNS Core: Medium: Collaborative Research: Privacy-Preserving Mobile
            Crowdsourcing.

            Cisco Systems Grant                                                            April 2019
            Research grant from the Cisco University Research Program.
            Proposal Title: Virtual and augmented reality over next generation WiFi.

            Cisco Systems Grant                                                             Dec 2016
            Research grant from the Cisco University Research Program.
            Proposal Title: Data-driven formal optimization of data centers.

            NSF NeTS Grant                                                 Sep. 2016 - Aug. 2020
            National Science foundation (NSF) award under the Networking Technology and Systems
            (NeTS) call.
            Proposal Title: Spectrum Sharing Systems for Wireless Networks: Performance and Pri-
            vacy Challenges.

            Adant Technologies Grant                                                   June 2016
            Research grant from Adant Technologies.
            Proposal Title: Using reconfigurable antenna systems with WiFi communication devices.
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        Huawei Grant                                                              May 2016
        Research grant from Huawei.
        Proposal Title: Addressing wireless bandwidth demand via asynchronously coordinated
        multi-cell deployments.

        Adant Technologies Grant                                                 Dec. 2015
        Research grant from Adant Technologies.
        Proposal Title: Asynchronous coordination of WiFi transmitters equipped with smart
        antennas for enhanced spectral efficiency.

        NSF EARS Grant                                                  Sep. 2014 - Aug. 2019
        National Science foundation (NSF) award under the Enhancing Access to the Radio Spec-
        trum (EARS) crosscutting program.
        Proposal Title: Future Wireless Broadband Access: Cross-Optimizing Hardware, Physical
        and Network Layers.

        Cisco Systems Grant                                                              May 2014
        Research grant from the Cisco University Research Program.
        Proposal Title: Rateless encoded UDP for error-resilient wireless links.

        Army Research Laboratory (ARL) Grant                        Sep. 2009 - Aug. 2014
        CTA: Communications and Networking Academic Research Center.
        Proposal Title: QUANTA: Quality of Information-Aware Networks for Tactical Applica-
        tions.

        DoCoMo Labs Grant                                                          Sep. 2011 - 2013
        Research support from the DoCoMo Labs, US.
        Proposal Title: MIMO systems with TDD

        Cisco Systems Grant                                                        Sep. 2011 - 2013
        Research grant from the Cisco University Research Program.
        Proposal Title: Efficient airtime allocation in wireless networks.

        Ming Hsieh Institute (MHI) Grant                                         May 2011 - 2013
        MHI grant to build a large scale software radio testbed and implement distributed MIMO,
        interference alignment and massive MIMO systems, as well as perform channel sounding
        and modelling.
        Proposal Title: Large-Scale Software-Radio Testbed.

        METRANS transportation center Grant                              Aug. 2009 - Aug. 2010
        METRANS Transportation Center grant to conduct research on metropolitan transporta-
        tion issues.
        Proposal title: End-to-end performance in vehicular networks with an emphasis on safety
        and security applications.

        Cisco Systems Grant                                                         Sep. 2008
        Research grant from the Cisco University Research Program.
        Proposal Title: Neighborhood centric transport for home networking environments.

        NSF NeTS Grant                                                 Aug. 2008 - Aug. 2011
        National Science foundation (NSF) award under the Networking Technology and Systems
        (NeTS) call.
        Proposal title: Contention-Awareness in Mesh Transport: Theory and Practice.

        Cisco Systems Grant                                                              Apr. 2008
        Research grant from the Cisco University Research Program.
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           Proposal Title: TCP challenges in multi-hop wireless networks. From the networking
           workshop “The Future of TCP: Train-wreck or Evolution?”.

           NSF REU site Grant                                              Mar. 2008 - Mar. 2011
           Grant to establish a National Science Foundation (NSF) Research Experiences for Under-
           graduates (REU) site within the Computer Science department at the Viterbi School of
           Engineering.
           Proposal Title: Coordination, Communication, Autonomy: Principles and Technologies.

           VSoE Innovative Research Fund Grant                             Dec. 2007 - Dec. 2008
           Fund to initiate a Viterbi School of Engineering (VSoE) invited workshop on Wireless
           Networks. Proposal title: Establishing a New USC Invited Workshop on Theory and
           Practice in Wireless Networks.

           METRANS transportation center Grant                                  Oct. 2007 - Dec. 2008
           METRANS Transportation Center grant to conduct research on metropolitan transporta-
           tion issues.
           Proposal title: Efficient Routing for Safety Applications in Vehicular Networks.

           NSF NeTS Grant                                                  Aug. 2005 - Aug. 2008
           National Science foundation (NSF) award under the Networking Technology and Systems
           (NeTS) call.
           Proposal title: Efficient Routing in Delay Tolerant Networking.

           Zumberge Faculty Research and Innovation Grant                   July 2005 - June 2006
           The James H. Zumberge faculty research and innovation award is granted to a selected
           number of Professors at the University of Southern California.
           Proposal title: Routing in Intermittently Connected Mobile Networks.

           Charles Lee Powell Scholarship Grant                            Dec. 2003 - Dec. 2004
           The Charles Lee Powell grant is granted to a selected number of Assistant Professors at
           the University of Southern California.

Awards     ACM Distinguished Member                                                       Nov. 2019
           The ACM Distinguished Member program recognizes up to 10 percent of ACM worldwide
           membership with at least 15 years of professional experience who have achieved significant
           accomplishments or have made a significant impact on the computing field.

           IEEE Fellow                                                                    Jan. 2018
           The IEEE Grade of Fellow is conferred by the IEEE Board of Directors upon a person
           with an outstanding record of accomplishments in any of the IEEE fields of interest. The
           total number selected in any one year cannot exceed one-tenth of one- percent of the total
           voting membership. IEEE Fellow is the highest grade of membership and is recognized by
           the technical community as a prestigious honor and an important career achievement.

           Distinguished Member of 2018 IEEE Infocom TPC Award                         2018
           The IEEE Communications Society awards annually a select number of TPC members of
           its flagship conference IEEE Infocom with a Distinguished Member award.

           Distinguished Member of 2016 IEEE Infocom TPC Award                         2016
           The IEEE Communications Society awards annually a select number of TPC members of
           its flagship conference IEEE Infocom with a Distinguished Member award.

           ACM Notable Article in Computing - Best of 2013                                     2014
           Selection of paper “Modelling BitTorrent-like systems with many classes of users”, W.-C.
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               Liao, F. Papadopoulos, K. Psounis, and C. Psomas, ACM Transactions on Modelling and
               Computer Simulation, Vol. 23, Issue 2, Article No. 13, May 2013.

               MEPC Business Plan Competition - 2nd place                                       2013
               Presentation of SpaceMUX Inc., a USC spinoff startup specializing in advanced physical
               layer techniques applied to next generation wireless networks.

               ACM Senior Member Award                                                      Jan. 2009
               The Senior Member grade recognizes those ACM members with at least 10 years of prof
               essional experience and 5 years of continuous professional membership who have demon-
               strated performance that sets them apart from their peers.

               IEEE Senior Member Award                                                          Nov. 2008
               Qualifications for this distinction are at least ten years of professional practice and five
               years of significant performance as demonstrated by substantial engineering responsibility
               or achievement, publication of engineering and technical papers, books or inventions, and
               the development and teaching of engineering courses.

               Future of TCP Best Presentation Award                                    Apr. 2008
               “Best and Most Compelling Presentation and Demonstration Award” at the networking
               workshop “The Future of TCP: Train-wreck or Evolution?” held at Stanford University
               and sponsored by Cisco Systems.

               Zumberge Faculty Research and Innovation Award                            July 2005
               The James H. Zumberge faculty research and innovation award is granted to a selected
               number of Professors at the University of Southern California.

               Charles Lee Powell Scholarship Award                                        Dec. 2003
               The Charles Lee Powell award is granted to a selected number of Assistant Professors at
               the University of Southern California.

               Illeana and Eric Benhamou Stanford Graduate Fellowship                    1997 - 2002
               Fellowship is awarded for four years to a very select number of PhD students based on
               academic merit.

               Best-student National Technical University of Athens award                          1997
               Awarded yearly to the student that graduates with the highest GPA across all departments
               of National Technical University of Athens.

               Other graduate studies awards                                                1997 - 1998
               Regent’s Fellowship by University of California Berkeley, Charles Lee Powell Foundation
               Graduate Fellowship by Caltech, Gordon Y. S. Wu Fellowship in Engineering by Princeton
               University, Sage Fellowship by Cornell University.

Publications   Refereed Journals

                 1. E. Bakopoulou, M. Yang, J. Zhang, K. Psounis and A. Markopoulou. “Location Leak-
                    age in Federated Signal Maps”, IEEE Transactions on Mobile Computing, October
                    2023.
                 2. R. Pal, N. Sastry, E. Obiodu, S. Prabhu, K. Psounis. “EdgeMart: A Sustainable
                    Networked OTT Economy on the Wireless Edge for Saving Multimedia IP Band-
                    width”, ACM Transactions on Autonomous and Adaptive Systems, July 2023, DOI:
                    10.1145/3605552.
                 3. E. Alimpertis, A. Markopoulou, C. Butts, E. Bakopoulou, K. Psounis. “A Unified Pre-
                    diction Framework for Signal Maps: Not All Measurements are Created Equal”, IEEE
                    Transactions on Mobile Computing, October 2022, DOI: 10.1109/TMC.2022.3221773.
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          4. J. Zhang, L. Clark, M. Clark, K. Psounis and P. Kairouz. “Privacy-utility trades
             in crowdsourced signal map obfuscation”, Elsevier Computer Networks, Vol. 215,
             October 2022. DOI: 10.1016/j.comnet.2022.109187
          5. L. Clark, J. Galante, B. Krishnamachari, and K. Psounis. “A Queue-Stabilizing
             Framework for Networked Multi-Robot Exploration”, IEEE Robotics and Automation
             Letters, February 2021, DOI: 10.1109/LRA.2021.3061304.
          6. W. Chon Ao, P. Huang and K. Psounis. “Joint Workload Distribution and Capacity
             Augmentation in Hybrid Datacenter Networks”, IEEE/ACM Transactions on Net-
             working, Vol. 29, Issue 1, Feb. 2021, DOI: 10.1109/TNET.2020.3027607.
          7. R. Pal, K. Psounis, J. Crowcroft, F. Kelly, P. Hui, J. Kelly, A. Chatterjee, L. Golubchil,
             and S. Tarkoma. “When Are Cyber Blackouts in Modern Service Networks Likely? A
             Network Oblivious Theory On Cyber (Re)Insurance Feasibility”, ACM Transactions
             on Management Information Systems, Article No.: 5, June 2020.
          8. M. Clark and K. Psounis. “Optimizing Primary User Privacy in Spectrum Sharing
             Systems”, IEEE/ACM Transactions on Networking, Vol. 28, Issue 2, April 2020.
          9. W. Chon Ao and K. Psounis. “Resource-constrained Replication Strategies for Hier-
             archical and Heterogeneous Tasks”, IEEE Transactions on Parallel and Distributed
             Systems, Vol. 31, Issue 4, June 2020.
         10. K. Wang and K. Psounis. “Efficient scheduling and resource allocation in 802.11ax
             multi-user transmissions”, Computer Communications, Elsevier, Vol. 152, pp.171-
             186, February 2020.
         11. R. Pal, L. Golubchik, K. Psounis and T. Bandyopadhyay. “On Robust Estimates of
             Correlated Risk in Cyber-Insured IT Firms: A First Look at Optimal AI-Based Esti-
             mates under Small Data”, ACM Transactions on Management Information Systems,
             Article No.: 9, October 2019.
         12. Y. Zhang and K. Psounis. “Efficient Indoor Localization via Switched-beam Anten-
             nas”, IEEE Transactions on Mobile Computing, June 2019.
         13. P. Huang and K. Psounis, “Optimal Backhauling for Dense Small-Cell Deployments
             Using mmWave Links”, Computer Communications Journal, Elsevier, Vol: 139, April
             2019.
         14. R. Pal, L. Golubchik, K. Psounis, and P. Hui, “Security Pricing as Enabler of Cyber-
             Insurance: A First Look at Differentiated Pricing Markets”, IEEE Transactions on
             Dependable and Secure Computing, Vol. 16, Issue 2, March-April 2019.
         15. W. Chon Ao and K. Psounis. “Data-locality-aware User Grouping in Cloud Radio
             Access Networks”, IEEE Transactions on Wireless Communications, Vol: 17, Issue:
             11, Nov. 2018.
         16. Y. Zhang and K. Psounis. “Consistently High MIMO Rates via Switched-beam An-
             tennas”, IEEE/ACM Transactions on Networking, Vol: 26, Issue: 5, Oct. 2018.
         17. W. Chon Ao and K. Psounis. “Fast Content Delivery via Distributed Caching and
             Small Cell Cooperation”, IEEE Transactions on Mobile Computing, Vol: 17, Issue:
             5, May 2018.
         18. R. Pal, L. Golubchik, K. Psounis, “Improving Cyber-Security via Profitable Insurance
             Markets”, ACM SIGMETRICS Performance Evaluation Review, Vol: 45, Issue 4,
             Mar. 2018.
         19. M. Clark and K. Psounis. “Trading Utility for Privacy in Shared Spectrum Access
             Systems”, IEEE/ACM Transactions on Networking, Vol. 26, Issue 1, February 2018.
         20. A. Michaloliakos, W. C. Ao, K. Psounis and Y. Zhang. “Asynchronously Coordi-
             nated Multi-timescale beamforming architecture for multi-cell networks”, IEEE/ACM
             Transactions on Networking, Vol. 26, Issue 1, February 2018.
Case 1:23-cr-00251-AKH       Document 205-1          Filed 01/13/25       Page 19 of 27



         21. W. Chon Ao and K. Psounis. “Approximation Algorithms for Online User Association
             in Multi-Tier Multi-Cell Mobile Networks”, IEEE/ACM Transactions on Networking,
             Vol: 25, Issue: 4, August 2017.
         22. M. Clark and K. Psounis. “Equal Interference Power Allocation for Efficient Shared
             Spectrum Resource Scheduling”, IEEE Transactions on Wireless Communications,
             Vol: 16, Issue 1, January 2017.
         23. A. Michaloliakos, R. Rogalin, Y. Zhang, K. Psounis and G. Caire. “Performance
             Modeling of Next-Generation WiFi Networks”, Computer Networks Journal, Vol. 105,
             pp.150-165, August 2016.
         24. R. Rogalin, O. Y. Bursalioglu, H. Papadopoulos, G. Caire, A. Molisch, A. Michaloli-
             akos, V. Balan, and K. Psounis. “Scalable Synchronization and Reciprocity Calibra-
             tion for Distributed Multiuser MIMO”, IEEE Transactions on Wireless Communica-
             tions, Vol. 13, Issue 4, pp. 1815 - 1831, April 2014.
         25. H. V. Balan, R. Rogalin, A. Michaloliakos, K. Psounis and G. Caire. “AirSync:
             Enabling Distributed Multiuser MIMO with Full Spatial Multiplexing”, IEEE/ACM
             Transactions on Networking, Vol. 21, Issue 6, pp. 1681 - 1695, December 2013.
         26. A. Jindal and K. Psounis. “On the Efficiency of CSMA-CA Scheduling in Wireless
             Multihop Networks”, IEEE/ACM Transactions on Networking, Vol. 21, Issue 5, pp.
             1392 - 1406, October 2013.
         27. W.-C. Liao, F. Papadopoulos, K. Psounis, and C. Psomas. “Modelling BitTorrent-like
             systems with many classes of users”, ACM Transactions on Modelling and Computer
             Simulation, Vol. 23, Issue 2, Article No. 13, May 2013.
         28. A. Jindal, K. Psounis, and M. Liu, “CapEst: A Measurement-based Approach to Es-
             timating Link Capacity in Wireless Networks”, IEEE Transactions on Mobile Com-
             puting, Vol. 11, Iss. 12, pp. 2098–2108, May 2012.
         29. S. Rangwala, A. Jindal, K.-Y. Jang, K. Psounis, and R. Govindan. “Neighborhood-
             centric congestion control for multi-hop wireless mesh networks”, IEEE/ACM Trans-
             actions on Networking, Vol. 19, No. 6, pp. 1797–1810, December 2011.
         30. W.-J. Hsu, T. Spyropoulos, K. Psounis and A. Helmy. “Modelling Spatial and Tempo-
             ral Dependencies of User Mobility in Wireless Mobile Networks”, IEEE/ACM Trans-
             actions on Networking, Vol. 17, Iss. 5, pp. 1564–1577, October 2009.
         31. A. Jindal and K. Psounis. “The Achievable Rate Region of 802.11-Scheduled Multihop
             Networks”, IEEE/ACM Transactions on Networking, Vol. 17, Iss. 4, pp. 1118–1131,
             August 2009.
         32. A. Jindal, and K. Psounis. “Contention-Aware Performance Analysis of Mobility-
             Assisted Routing”, IEEE Transactions on Mobile Computing, Vol. 8, No. 2, 145-161,
             February 2009.
         33. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Efficient Routing in Intermittently
             Connected Mobile Networks: The Multiple-copy Case”, IEEE/ACM Transactions on
             Networking, Vol. 16, Iss. 1, pp. 77–90, February 2008.
         34. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Efficient Routing in Intermittently
             Connected Mobile Networks: The Single-copy Case”, IEEE/ACM Transactions on
             Networking, Vol. 16, Iss. 1, pp. 63–76, February 2008.
         35. F. Papadopoulos and K. Psounis. “Efficient Identification of Uncongested Internet
             Links for Topology Downscaling”, ACM SIGCOMM Computer Communication Re-
             view (CCR), Vol. 37, Issue 5, pp. 39–52, October 2007.
         36. W.-C. Liao, F. Papadopoulos and K. Psounis. “Performance Analysis of BitTorrent-
             like Systems with Heterogeneous Users”, Performance Evaluation Journal, Vol. 64,
             Issues 9–12, pp. 876-891, October 2007.
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         37. F. Papadopoulos, K. Psounis, and R. Govindan. “Performance Preserving Topo-
             logical Downscaling of Internet-like Networks”, IEEE Journal on Selected Areas in
             Communications (JSAC), special issue on ”Sampling the Internet: Techniques and
             Applications”, Vol. 24, No. 12, pp. 2313-2326, December 2006.
         38. W.-C. Liao, F. Papadopoulos, and K. Psounis. “A Peer-to-peer Cooperation Enhance-
             ment Scheme and its Performance Analysis”, Journal of Communications (JCM), Vol.
             1, No. 7, pp. 24–35, November/December 2006.
         39. A. Jindal and K. Psounis. “Modelling Spatially Correlated Data in Sensor Networks”,
             ACM Transactions on Sensor Networks, Vol. 2, Issue 4, pp. 466 - 499, November
             2006.
         40. S. Rangwala, R. Gummandi, R. Govindan, and K. Psounis. “Interference-aware Fair
             Rate Control in Wireless Sensor Networks”, ACM SIGCOMM Computer Communi-
             cation Review (CCR), Vol. 36, Issue 4, pp. 63–74, October 2006.
         41. W.-C. Liao, F. Papadopoulos, and K. Psounis. “An Efficient Algorithm for Resource
             Sharing in Peer-to-peer Networks”, Lecture Notes in Computer Science, Springer, Vol.
             3976/2006, pp. 592–605, April 2006.
         42. K. Psounis, P. Molinero Fernandez, B. Prabhakar, and F. Papadopoulos. “Systems
             with Multiple Servers under Heavy-tailed Workloads”, Performance Evaluation Jour-
             nal, Vol. 62, Issue 1–4, pp. 456–474, October 2005.
         43. R. Pan, K. Psounis, B. Prabhakar, and D. Wischik. “SHRiNK: A Method for Enabling
             Scaleable Performance Prediction and Efficient Network Simulation”, IEEE/ACM
             Transactions on Networking, Vol. 13, No. 5, pp. 975–988, October 2005.
         44. J. Faruque, K. Psounis, and A. Helmy. “Analysis of Gradient-based Routing Proto-
             cols in Sensor Networks”, Lecture Notes in Computer Science, Springer-Verlag, Vol.
             3560/2005, pp. 258–275, July 2005.
         45. K. Psounis, A. Zhu, B. Prabhakar, and R. Motwani. “Modelling Correlations in Web-
             Traces and Implications for Designing Replacement Policies”, Computer Networks
             Journal, Vol. 45, No. 4, pp. 379–398, July 2004.
         46. K. Psounis, R. Pan, B. Prabhakar, and D. Wischik. “The Scaling Hypothesis: Simpli-
             fying the Prediction of Network Performance Using Scaled-down Simulations”, ACM
             SIGCOMM Computer Communication Reviews, Vol. 33, No. 1, pp. 35–40, January
             2003.
         47. K. Psounis and B. Prabhakar. “Efficient Randomized Web-Cache Replacement Schemes
             Using Samples from Past Eviction-Times”, IEEE/ACM Transactions on Networking,
             Vol. 10, No. 4, pp. 441-454, August 2002.
         48. K. Psounis, R. Pan, and B. Prabhakar. “An Approximate Fair Dropping Scheme for
             Variable Length Packets”, IEEE Micro, Vol. 21, No. 1, pp. 48–56, January/February
             2001.
         49. K. Psounis. “Active Networks, Applications, Security, Safety, and Architectures”,
             IEEE Communications Surveys Magazine, Vol. 2, No. 1, pp. 1–16, 1st quarter 1999.

        Conference, Peer-reviewed, Full-length Papers

          1. Jiang Zhang, Qiong Wu, Yiming Xu, Cheng Cao, Zheng Du, and Konstantinos Psou-
             nis, “Efficient Toxic Content Detection by Bootstrapping and Distilling Large Lan-
             guage Models”, in Proceedings of AAAI, 2024.
          2. Y. Hu, X. Ye, Y. Liu, S. Kundu, G. Datta, S. Mutnuri, N. Asavisanu, N.Ayanian, K.
             Psounis, and P. Beerel, “FireFly A Synthetic Dataset for Ember Detection in Wild-
             fire”, in Proceedings of the 5th Workshop on Artificial Intelligence for Humanitarian
             Assistance and Disaster Response, at ICCV, 2023.
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          3. J. Zhang, H. Askari, K. Psounis, and Z. Shafiq, “No Video Left Behind: A Utility-
             Preserving Obfuscation Approach for YouTube Recommendations”, in Proceedings of
             PETS, 2023.
          4. A. Elkordy, J. Zhang, Y. Ezzeldin, K. Psounis, and S. Avestimehr, “How Much Privacy
             Does Federated Learning with Secure Aggregation Guarantee?”, in Proceedings of
             PETS, 2023.
          5. H. Qiu, P.-H. Huang, N. Asavisanu, X. Liu, K. Psounis, and R. Govindan, “Auto-
             Cast: Scalable Infrastructure-less Cooperative Perception for Distributed Collabora-
             tive Driving”, in Proceedings of ACM MobiSyS 2022.
          6. J. Zhang, K. Psounis, H. Muhammad, and Z. Shafiq, “HARPO: Learning to Subvert
             Online Behavioral Advertising”, in Proceedings of NDSS, 2022.
          7. L. Clark, C. Andre, J. Galante, B.Krishnamachari, and K. Psounis, “TEAM: Trilat-
             eration for Exploration and Mapping with Robotic Networks”, in Proceedings of the
             18th International Conference on Ubiquitous Robots, July 2021.
          8. L. Clark, J. Galante, B.Krishnamachari, and K. Psounis, “A Queue-Stabilizing Frame-
             work for Networked Multi-Robot Exploration”, in Proceedings of IEEE International
             Conference on Robotics and Automation (ICRA), May 2021.
          9. P.-H. Huang and K. Psounis, “Efficient User-Cell Association for 360 Video Streaming
             over Wireless Networks”, in Proceedings of IFIP Networking, June 2020.
         10. A. Petropulu, K. Psounis, and A. Al Hilli, “MIMO Radar Privacy Protection Through
             Gradient Enforcement in Shared Spectrum Scenarios”, in Proceedings of IEEE Inter-
             national Symposium on Dynamic Spectrum Access Networks (DySPAN), Newark, NJ,
             November 2019.
         11. E. Alimpertis, A. Markopoulou, C. T. Butts and K. Psounis, “City-Wide Signal
             Strength Maps: Prediction with Random Forests”, in Proceedings of WWW, San
             Fransisco, CA, May 2019. (acceptance rate 15%)
         12. A. Dimas, M. Clark, B. Li, K. Psounis and A. Petropulu, “On Radar Privacy in Shared
             Spectrum Scenarios”, in Proceedings of the International Conference on Acoustics,
             Speech, and Signal Processing (ICASSP), Brighton, UK, May 2019.
         13. K. Wang and K. Psounis. “Scheduling and Resource Allocation in 802.11ax”, in
             Proceedings of IEEE Infocom, Honolulu, Hi, April 2018. (acceptance rate 19.2%)
         14. M. Clark and K. Psounis. “Achievable Privacy-Performance Tradeoffs for Spectrum
             Sharing with a Sensing Infrastructure”, in Proceedings of the 14th Annual Conference
             on Wireless On-Demand Network Systems and Services (IFIP WONS), 8 pages (no
             pp. avail.), Isola, France, February 2018.
         15. Y. Zhang and K. Psounis. “Efficient MU-MIMO via Switched-beam Antennas”, in
             Proceedings of ACM MOBIHOC, 10 pages (no pp. avail.), Madras, India, July 2017.
             (acceptance rate 17%)
         16. M. Clark and K. Psounis. “Designing Sensor Networks to Protect Primary Users in
             Spectrum Access Systems”, in Proceedings of the 13th Annual Conference on Wireless
             On-Demand Network Systems and Services (IFIP/IEEE WONS), 8 pages (no pp.
             avail.), Jackson, WY, February 2017. (acceptance rate 30%)
         17. P.-H. Huang and K. Psounis. “Efficient mmwave wireless backhauling for dense small-
             cell deployments”, in Proceedings of the 13th Annual Conference on Wireless On-
             Demand Network Systems and Services (IFIP/IEEE WONS), 8 pages (no pp. avail.),
             Jackson, WY, February 2017. (acceptance rate 30%)
         18. W. Chon Ao and K. Psounis. “An Efficient Approximation Algorithm for Online
             Multi-Tier Multi-Cell User Association”, in Proceedings of ACM MOBIHOC, 10 pages
             (no pp. avail.), Paderborn, Germany, July 2016. (acceptance rate 18.7%)
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         19. H. Qiu, K. Psounis, G. Caire, K. Chugg and K. Wang. “High-Rate WiFi Broadcasting
             in Crowded Scenarios via Lightweight Coordination of Multiple Access Points”, in
             Proceedings of ACM MOBIHOC, 10 pages (no pp. avail.), Paderborn, Germany, July
             2016. (acceptance rate 18.7%)
         20. M. Clark and K. Psounis. “Can the Privacy of Primary Networks in Shared Spectrum
             be Protected?”, in Proceedings of IEEE INFOCOM, 9 pages (no pp. avail.), San
             Fransisco, April 2016. (acceptance rate 18.2%)
         21. G. Zois, A. Michaloliakos, K. Psounis, V. Vassalos and I. Mourtos. “Non-asymptotic
             performance bounds for downlink MU-MIMO scheduling”, in Proceedings of the 12th
             Annual Conference on Wireless On-Demand Network Systems and Services (IFIP
             WONS), 8 pages (no pp. avail.), Italy, January 2016. (acceptance rate 30%)
         22. W. Chon Ao and K. Psounis. “Distributed Caching and Small Cell Cooperation for
             Fast Content Delivery”, in Proceedings of ACM MOBIHOC, pp. 127–136, Hangzhou,
             China, June 2015. (acceptance rate 14.8%)
         23. M. Clark and K. Psounis. “Efficient Resource Scheduling for a Secondary Network in
             Shared Spectrum”, in Proceedings of IEEE INFOCOM, pp. 1257–1265, Hong Kong,
             April 2015. (acceptance rate 19.0%)
         24. R. Pal, L. Golubchik, K. Psounis, and P. Hui. “Will Cyber-Insurance Improve Net-
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        Invited Journals

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        Invited Conference Papers

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Patents          Quantenna Communications, Inc.
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Selected       International Conferences - Organizing/Executive Committee
Professional
Service        • Steering Committee, IFIP/IEEE WONS, 2017 - now.
               • General Chair, ACM SIGMETRICS, 2018.
               • General Chair, IFIP/IEEE WONS, 2017.
               • Program Chair, IFIP/IEEE WONS, 2016.
               • Program Chair, IEEE DCOSS workshop on Wireless Sensor Networks (PWSN), 2014.
               • Program Chair, ACM MOBICOM workshop on Challenged Networks (CHANTS), 2008.
               • Workshop Chair, ACM SIGMETRICS 2008.
               • Workshop Chair, USC Workshop on Theory and Practice in Wireless Networks, 2008.
               • Publication Chair, ACM SIGMETRICS 2007.
               • Panel Chair, ACM MOBIHOC, 2009.
               • Panel Chair, IEEE CCW, 2008.

               International Conferences - Technical Program Committee

               • IFIP/IEEE WONS 2013 - 2014, 2018, 2022
               • IEEE INFOCOM 2005 - 2020.
               • ACM SIGMETRICS 2008, 2014, 2015, 2017, 2020.
               • ACM MOBIHOC, 2008 - 2010, 2017-2020.
               • WiOpt 2016-2017.
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               • IEEE SECON 2007 - 2010.
               • IFIP NETWORKING 2006 - 2010.
               • ACM MOBICOM, 2009.
               • IEEE ICNP 2009.
               • IEEE WOWMOM workshop on Autonomic and Opportunistic Communications (AOC),
                 2008 -2009.
               • IEEE ICDCS workshop on Delay Tolerant Mobile Networks (DTMN), 2008.
               • ACM MOBISYS workshop on Mobile Opportunistic Networks (MOBIOPP), 2007.
               • IEEE PERCOM workshop on Intermittently Connected Mobile Ad hoc Networks (IC-
                 MAN), 2007.

               Journals

               • Editorial Board, IEEE/ACM Transactions on Networking (ToN), 2015 - 2020.
               • Editorial Board, IEEE Transactions on Mobile Computing (TMC), 2009 - 2019.
               • Editorial Board, Computer Networks Journal, Elsevier, 2009 - 2010.
               • Editorial Board, International Journal of Autonomous and Adaptive Communications
                 Systems (IJAACS), 2008.
               • Reviewer of IEEE/ACM Transactions on Networking, IEEE Journal on Selected Ar-
                 eas in Communication, IEEE Transactions on Parallel and Distributed Systems, IEEE
                 Transactions on Mobile Computing, ACM Transactions on Sensor networks, Elsevier
                 Computer Networks Journal, Elsevier Performance Evaluation Journal, Elseviers Ad
                 Hoc Networks Journal, Transportation Research Journal Part C, IEEE Transactions on
                 Automatic Control.

               Governmental Agencies

               • NSF ML panel, 2020.
               • NSF CAREER panel, 2019.
               • NSF EARS meeting, 2016.
               • NSF Future Internet Architecture Summit participant, 2009.
               • NSF CRI panel member, 2008.
               • NSF Wireless mobile workshop participant, 2007.
               • NSF NeTS-NOSS panel member, 2005.
               • Reviewer of NSF NeTS proposals.

Professional   • Institute of Electrical and Electronic Engineers (IEEE):
Associations     IEEE Fellow, 2018 - now.
                 Senior Member, 2008 - 2017.
                 Member, 1998 - 2008.
               • Association for Computing Machinery (ACM):
                 ACM Distinguished Member, 2019 - now.
                 Senior Member, 2009 - 2018.
                 Member, 2001 - 2008.
               • Technical Institution of Greece (TEE), 1997 - now.

Languages      English, Greek, French.

Personal       Married, three children.
